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Onkr Kcsnrding Moimn lor Scnlt-nci; Rcdiivlioii nursuam in the l-irsi Slqi Ael                                             I'aec 1 or2 (i'agc 2 Niil I'or Public Disclosiitc)


                                              United States District Court
                                                                                     for llie


                                                            Eastern                District of          Virginia

                       United Slates orAnierica
                                         V.                                              )
                                                                                         ) CaseNo: 3:01-cr-6l
                     Nelson Rafael Zapata-Viccnie
                                                                                         )
                                                                                         ) USMNo: 49217-019
Date of Original Jiidgnieni:       March 21, 2002                                        )
Dale of Previous Amended Judgment:                                                       I Robcii J. Wagner, Laura Koenig
IUxl- Diiie ofl.Mi .Imciiik'J Jmlnmeni ifAiiy)                                               Di'/einhiitl V


                     ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                               PURSUANT TO THE FIRST STEP ACT

           Upon moiion of ^the defendant □ the Director of the IJurcau ol' Prisons c the court under the First Step
Act for a reduction in the term of imprisonment imposed based on a guideline sentencing range and mandatory minimum
sentence that has subsec|ucnt]y been lowered and made retroactive by the United Slates Congress pursuant to the first
Step Act, and having considered such moiion. and the sentencing factors set lorth in 18 U.S.C. § 3553(a). to the extent
that they arc applicable.
IT IS ORDDRt;!) that the motion is:
             □ DENIRD.               ^GRANTED and the defendant's previously imposed sentence of imprisonment (os n-pcicdin
ihi- Insym/ymeni issucl) of                        360 moiUlis                           is reducctl to                          324 months*
                                                     '('oiiipluif I'lirls / miiJ II ofl'aau 2 when iiniiion is yranieil)


*Thi.s Order is subject to the prohibition contained within U.S.S.G. § IB 1.10(b)(2)(C), which provides: "In no
cN cnt may the reduced term of imprisonment be less than the term of imprisonment the defendant has already
served." "

This Order will take effect ten riays after the date it is signed to proviilc iulcqmite time for the Bureau of Prisons
to transition the defendant.




  Except as oiherwisc provided, all provisions of the judgment dated _March 21. 2002                                             .shall remain in ctfect.

 IT LS SO ORDERED.


Order Date:           ^
                      C/                                                                            John A. Gibncy, Jr.
                                                                                                    United


 Effective Date:                                                                                   l-lon. John A. Gibney, U.S. District Judge
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